           Case 3:21-cv-00265-BJB Document 3 Filed 04/27/21 Page 1 of 1 PageID #: 5




USDC KYWD - Notice Of Deficiency (Rev. 1/09)




                                                United States District Court
                                                Western District of Kentucky
                                                       at Louisville
                                                   NOTICE OF DEFICIENCY

TO:                                            Robert Swint

CASE #:                                        3:21-cv-265-BJB

STYLE OF CASE:                                 Swint v. Lord Baltimore Company, et al.

DOCUMENT TITLE:                                Complaint

DATE:                                          4/27/2021


Please be advised that the recent filing of the above cited document with the Clerk's
Office is deficient as indicated below:
FORMS. Please resubmit on the appropriate forms. The forms must be fully completed and
include your original signature. (Forms attached).

SUMMONS. Plaintiff is required to prepare a Summons to be served upon each defendant.
(Fed.R.Civ.P. 4) Complete a Summons for each defendant and return to the Clerk for issuance.
DO NOT send Summons to the defendant(s). (Summons form(s) attached).

FILING FEE OR APPLICATION TO PROCEED WITHOUT PREPAYMENT OF FEES. You
must either pay the filing fee or file a fully completed Application to Proceed Without Prepayment
of Fees and Affidavit. (See 28 U.S.C. § 1915.)

YOU ARE GRANTED 30 DAYS FROM THIS DATE TO REMEDY THE DEFICIENCY OR
DEFICIENCIES IDENTIFIED ABOVE. FAILURE TO COMPLY WITHIN 30 DAYS,
WITHOUT GOOD CAUSE SHOWN, WILL RESULT IN THIS MATTER BEING BROUGHT
TO THE ATTENTION OF THE COURT.
